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 9
                                   UNITED STATES DISTRICT COURT
10                                EASTERN DISTRICT OF CALIFORNIA

11

12    United States of America,                          No. 2:12-CV-02334-TLN-DB

13                       Plaintiff,                      REPLY IN SUPPORT OF THE UNITED
                                                         STATE’S MOTION TO EXCUSE IT FROM
14           v.                                          SANCTIONS FOR FAILURE TO COMPLY
                                                         WITH RULE 26(a)
15    L. Richard Shearer; Diane Shearer; Stanley
      Swenson as Trustee of the Hotlum Trust,
16    Berryvale Trust, and Regency Trust; et al.;

17
                         Defendants.
18

19
            The Court should grant the United States’ Motion to excuse its formal compliance with
20
     Federal Rule of Civil Procedure 26(a) (ECF No. 162) because the United States shared the
21

22   substance of Rule 26(a) disclosures – identifying witnesses, identifying documents in its

23   possession, and producing the documents – with the defendants while discovery was still open, so

24   they are not prejudiced in any way. The narrow issue for the Court to decide is whether the
25
     United States’ substantive compliance with Rule 26(a) by disclosing the same information
26
     contemplated by the rule through discovery responses excuses its formal non-compliance in
27
     failing to make such disclosures in a document captioned “Rule 26(a) disclosures.” Issues related
28
                                                     1
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 1   to objections raised to specific question in 2014 or the sufficiency of the evidence the United
 2   States will present at trial are separate and not germane to the United States’ motion. The
 3
     oppositions filed by Diane Shearer (ECF No. 163) and Stanley Swenson as trustee (ECF No.
 4
     165), however, mostly discuss these separate issues and are therefore irrelevant; they spend pages
 5
     arguing issues that should have been litigated during discovery or relate to the merits of the issues
 6

 7   to be decided at trial. Nothing in the responses, therefore, justifies denying the United States’

 8   motion and preventing the United States from relying on witnesses – including the defendants

 9   themselves – and documents it previously identified. The United States will reply to both
10
     defendants’ oppositions below by first replying to the unique arguments or issues raised by each
11
     opposition and then replying to the incorrect shared argument that failure to formally comply with
12
     Rule 26(a) necessitates the exclusion of all witnesses and evidence.
13
                                                ARGUMENT
14

15          I.      Diane Shearer previously received and relied on the disputed documents and
                    her arguments are irrelevant and unrelated to the United States’ motion.
16
            As an initial matter, it bears repeating that in 2014, Diane Shearer was represented by
17
     attorney Matthew Gilmartin, and there is no dispute that the United States served two disks with
18

19   exhibits Bates stamped IRS 00001 – 04354 and 04410 – 04992 and interrogatory responses

20   identifying witnesses on Mr. Gilmartin while discovery was open in this case. Mrs. Shearer,

21   through Mr. Gilmartin, relied on these documents in her motion for summary judgment in this
22
     case. See Gilmartin Decl. (ECF No. 66-2, pp. 1-2). This means that Mrs. Shearer timely received
23
     these documents during discovery, and this should end consideration for her request to exclude
24
     the United States’ identified exhibits and witnesses. Indeed, Dr. Shearer, who is still represented
25
     by Mr. Gilmartin, is not opposing the United States’ motion, and it is frivolous for Mrs. Shearer
26
27   to adopt a different litigating position now based on events that happened while she too was

28   represented by Mr. Gilmartin.
                                                       2
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 1           Mrs. Shearer’s specific arguments all fail to justify the Court granting her requested relief.
 2   First, she claims that the United States did not produce documents to her when she informally
 3
     requested them in 2023, but there were no pending deadlines or discovery obligations on the
 4
     United States at that time, and she could have just as easily asked her previous counsel for the
 5
     documents he possessed. In fact, that is what should have happened: when she chose to proceed
 6

 7   pro se in 2022, Mrs. Shearer should have received all the case files she wanted from her previous

 8   attorney, and those files would have included the documents she now demands from the United

 9   States. That said, in addition to timely identifying its potential exhibits in the joint pretrial
10
     statement (ECF No. 157), the United States also re-produced all the documents for all the
11
     defendants on March 14, 2024 through an online filesharing service. See Bissell Decl. (ECF No.
12
     162-1, ¶ 12).
13
             Mrs. Shearer also says it was improper for the United States not to share a free copy of the
14

15   deposition transcripts at issue in this case. This, too, is something she could have asked her

16   previous counsel about or obtained on her own, and the United States was under no obligation to
17   undercut the court reporting service and make copies for the defendants. Litigants may not
18
     circumvent court reporter costs through requests for production. E.g., Brown v. Johnson &
19
     Johnson, Inc., No. 117CV01285AWIEPG, 2018 WL 5734531, at *3 (E.D. Cal. Oct. 31, 2018).
20
     Nor is there any rule entitling pro se litigants, even those proceeding in forma pauperis (unlike
21

22   Mrs. Shearer), to free copies of deposition transcripts. E.g., Spencer v. Lopez, No.

23   120CV01203JLTCDBPC, 2022 WL 16751917, at *2 (E.D. Cal. Nov. 7, 2022). Simply put, there

24   is nothing improper or unfair about Mrs. Shearer being required to pay for her own copies of
25   deposition transcripts from the officer(s) before whom the depositions were taken.
26
             Second, Mrs. Shearer claims the disclosure through discovery responses was not harmless
27
     because the interrogatory response did not alert Dr. and Mrs. Shearer that they may have to testify
28
                                                         3
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 1   about issues other than the sham trusts. Interrogatory Six from the defendants to the United States
 2   asked the United States to “List, name, and describe all witnesses with knowledges of facts
 3
     relevant to the claims of the United States against Defendants L. Richard Shearer, Diane Shearer
 4
     and Stanley Swenson…”. See Inter. (ECF No. 162-2, p. 5). Listing the defendants’ names in the
 5
     answer thus should have reasonably given the defendants notice that they could be witnesses
 6

 7   regarding any of the United States’ claims. The United States’ response added that the Shearers

 8   and Stanley Swenson may have information about “the sham trust arrangement,” but that does not

 9   mean the defendants should not have anticipated being called as witnesses at trial more broadly.
10
     As parties, they were always on notice they may have to testify in this case, and the interrogatory
11
     response said they may have information about the “sham trust arrangement” and not only the
12
     specific claim in the complaint about the sham trust. In any event, the United States’ other
13
     remaining claims, such as nominee and fraudulent transfer, are all directly tied to the trust
14

15   arrangement disputed in this case, so the discovery response sufficiently identified both the

16   defendants and other possible witnesses that the United States may rely on for trial, and
17   identifying these witnesses in a discovery response while discovery was open rather than a
18
     document captioned “Rule 26(a) disclosures” was harmless.
19
            Lastly, Mrs. Shearer’s other arguments relate to issues not at issue presently. She makes
20
     claims about the value of the transferred property, but that is something to be addressed at trial
21

22   and post-trial briefing, and her arguments about payment they made for Mr. Shearer’s criminal

23   restitution are separate from this case and unrelated to disclosure of documents and witnesses.

24   Indeed, the Court has properly stricken these irrelevant portions of Mrs. Shearer’s response. (ECF
25   No. 166.)
26
            Nothing in Mrs. Shearer’s response justifies denying the United States’ motion.
27

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                                                       4
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 1          II.     The United States made the equivalent of Rule 26(a) disclosures to Stanley
                    Swenson.
 2
            Stanley Swenson claims that he never received the documents Bates stamped IRS 00001 –
 3

 4   04354, and he points to the lack of a FedEx delivery confirmation for that specific item as proof.

 5   Mr. Swenson’s argument fails for both legal and factual reasons, either of which is sufficient for
 6   the Court to grant the United States’ motion.
 7
            As a legal matter, whether Mr. Swenson through his attorney Joe Izen, received actual
 8
     copies of the documents Bates stamped IRS 00001 – 04354 is not the proper question. Under
 9
     Rule 26(a), a party must just identify documents such that an opposing party can request them.
10

11   See Dhaliwal v. Singh, No. 1:13-CV-00484-LJO, 2014 WL 2957310, at *5 (E.D. Cal. June 30,

12   2014) (noting that “Rule 26(a) (1)(A)(ii) does not require the actual production of documents.”);

13   Forbes v. 21st Century Ins. Co., 258 F.R.D. 335, 337 (D. Ariz. 2009) (“a duty to disclose is not
14   synonymous with a duty to produce”); Advisory Committee Note to 1993 Amendment to Rule 26
15
     (“the other parties are expected to obtain the documents desired by proceeding under Rule 34 or
16
     through informal requests”). In the letter from previous United States counsel on July 8, 2014,
17
     attorney Patrick Jennings told Joe Izen, “You previously received the documents referred to in the
18

19   discovery response enclosed, a CD-ROM containing pdf files Bates IRS00001 – IRS04354”, and

20   the substantive response to Mr. Swenson’s discovery discussed several documents and included a

21   privilege log further describing documents in the IRS administrative file. See Bissell Decl.,
22
     Exhibit 2 (ECF No. 162-3). Joe Izen was also served with a copy of the United States’ responses
23
     to written discovery from the Shearers, which identified the same documents on January 30,
24
     2014. See Bissell Decl., Exhibit 1 (ECF No. 162-3, p. 23). And Joe Izen was included on emails
25
     between Matthew Gilmartin and Patrick Jennings discussing the United States’ production of a
26
27   CD with documents Bates stamped IRS 00001 – 04354. See Bissell Decl., Exhibit 3 (ECF No.

28   162-4, p.5).
                                                      5
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 1          Joe Izen was given even further notice about these documents during the depositions that
 2   were taken in this case. For example, on June 3, 2014 (so before the July 8th letter in which U.S.
 3
     counsel referenced the previously disclosed government documents to Joe Izen), Patrick Jennings
 4
     deposed Richard Shearer; he also deposed Stanley Swenson on June 4, 2014, and Daniel Bullock
 5
     on June 5, 2014. During these depositions, Patrick Jennings referenced multiple exhibits from the
 6

 7   identified Bates range of IRS 00001 – 04354. See Stevko Decl. ¶¶ 3-5, Exhibits 7-9. This alone is

 8   sufficient to render any lack of initial disclosures harmless. See Tijerina v. Alaska Airlines, Inc.,

 9   No. 22-CV-203 JLS (BGS), 2023 WL 3997972, at *6 (S.D. Cal. June 14, 2023) (allowing
10
     reliance on witnesses disclosed during deposition rather than in initial disclosures); Orellana v.
11
     Cnty. of Los Angeles, No. CV1201944MMMCWX, 2013 WL 12129290, at *10 (C.D. Cal. June
12
     26, 2013) (citing cases and finding document sufficiently disclosed where it was described during
13
     deposition); Jenkins v. Med. Lab’ys of E. Iowa, Inc., 880 F. Supp. 2d 946, 956 (N.D. Iowa 2012),
14

15   aff’d, 505 F. App’x 610 (8th Cir. 2013) (finding no surprise or prejudice when a witness that was

16   not included in a formal initial disclosure was identified in a deposition).
17          Stanley Swenson, through his counsel, was therefore given notice of the documents
18
     multiple times, and that is sufficient to meet Rule 26(a). Even if he did not receive copies of the
19
     documents (which the United States disputes, as discussed below) he could have requested them
20
     specifically by Bates number either informally or pursuant to Rule 34 as the advisory committee
21

22   notes to Rule 26 suggest. The United States therefore made the proper disclosures required by

23   Rule 26(a) and the failure to specifically identify them as “Rule 26 disclosures” is harmless as

24   discussed below.
25          Because the United States met the legal requirements of Rule 26 through its undisputed
26
     communications with counsel for Stanley Swenson, the Court does not need to determine if a disk
27
     with documents IRS 00001 – 04354 was ever actually served on Joe Izen. But a review of the
28
                                                        6
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 1   facts makes clear that it was. First, previous U.S. counsel stated that Joe Izen should have
 2   received such a disk, and it is undisputed that all other discovery responses were served on both
 3
     counsel for the different defendants. When the parties needed to discuss discovery over email,
 4
     they would. See Stevko Decl. ¶ 7, Exhibit 11. It is therefore not believable that after receiving
 5
     multiple letters and emails about such a disk, and after seeing documents contained on the disk in
 6

 7   depositions, Joe Izen would not have followed up by email if he had not received the documents.

 8           Furthermore, the available evidence indicates that Matthew Gilmartin forwarded on the

 9   duplicate disk he received to Joe Izen. The two communicated regularly and sometimes one
10
     would act on behalf of the other with regard to the United States. See Stevko Decl. ¶ 6, Exhibit
11
     10. Stanley Swenson’s response notably contains no declaration from Mr. Gilmartin swearing that
12
     he did not forward the disk to Mr. Izen. And even if Mr. Gilmartin did fail to share the disk as
13
     everyone contemplated at the time, it would be wrong to hold that against the United States now.
14

15   As reflected in the correspondence, the United States followed the parties’ instructions regarding

16   where and how to make the first document production and made no secret that it anticipated the
17   defendants would share the duplicate disks sent to Mr. Gilmartin. For Stanley Swenson to now,
18
     years later, complain about a production method the defendants themselves requested and
19
     accepted amounts to a belated “gotcha” that the Court should reject. Dhaliwal, 2014 WL
20
     2957310, at *7 (refusing to exclude evidence where party failed to raise complaints about
21

22   disclosure during discovery period); Perry v. Brown, No. CV 18-9543-JFW(SSX), 2019 WL

23   6888048, at *4 (C.D. Cal. June 11, 2019) (finding lack of formal disclosures substantially

24   justified and harmless where Defendant’s counsel “never complained or raised any issue” earlier
25   in litigation).
26
             With the record before the parties and the Court, it is not credible that Joe Izen never
27
     received the documents and never moved to compel or contacted previous U.S. counsel in any
28
                                                       7
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 1   way. The most obvious explanation for the lack of such actions is because he did in fact receive
 2   the documents at the time and cannot remember it now. This means that not only did the United
 3
     States meet the legal requirement of Rule 26(a) by identifying the documents in its possession
 4
     multiple times, but it also went further and produced copies of the actual documents.
 5
            III.     Stanley Swenson’s legal arguments misstate the legal standard for Rule 37
 6                   sanctions or are irrelevant.
 7
            Mr. Swenson’s opposition raises many arguments as to why the documents identified in
 8
     the pretrial statement should be excluded: failure to comply with Rule 26 along with a narrow
 9
     interpretation of Liberty Ins. Corp. v. Brodeur, 41 F.4th 1185 (9th Cir. 2022) and Rule 37, failure
10

11   to disclose some documents at all, and the United States’ purported failure to obtain a protective

12   order. All these arguments fail.

13          The United States concedes that it can find no record that it disclosed the information
14   included in Rule 26(a) on a specific document captioned “Rule 26(a) disclosures” after an initial
15
     Rule 26 conference.1 But as explained in the previous sections, the United States provided the
16
     same substantial information in discovery responses and other communications while discovery
17
     was still open, and defendants could have acted on it. In such a situation, Rule 37 says to exclude
18

19   such documents and witnesses only if the failure to formally comply with Rule 26 was not

20   substantially justified or harmless. Liberty Ins. Corp. v. Brodeur, 41 F.4th at 1190–91; Mollica v.

21   Cnty. of Sacramento, No. 2:19-CV-02017-KJM-DB, 2023 WL 6723395, at *3 (E.D. Cal. Oct. 12,
22
     2023). To make such a determination, courts consider four factors: (1) prejudice or surprise to the
23
     party against whom the evidence is offered; (2) the ability of that party to cure the prejudice; (3)
24
     the likelihood of disruption of trial; and (4) bad faith or willfulness in not timely disclosing the
25
     evidence. Id.
26
27
     1
      The United States notes that there is likewise no record that either of the Shearers or Stanley
28   Swenson ever made such disclosures.
                                                        8
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 1          The United States explained in its motion why the four factors supported allowing the
 2   United States to rely on the disputed documents and witnesses at trial here: (1) there is no
 3
     prejudice because the witnesses and documents were identified and disclosed during discovery
 4
     and before depositions began; (2) the United States can and has easily cured any prejudice by re-
 5
     producing the documents; (3) because the information was disclosed over a decade before trial
 6

 7   and the documents were recently reproduced2, this issue will not disrupt trial; and (4) there is no

 8   evidence of bad faith in the failure to formally comply with Rule 26. The oppositions claim bad

 9   faith and wrongdoing by the government, but they do not provide any evidence of this, and
10
     previous U.S. counsel’s forthrightness in sharing the information shows there was no intent to
11
     conceal information for a bad faith surprise at trial.
12
            Swenson attempts to confuse the issue by claiming that Brodeur is inapposite because it
13
     dealt with witnesses and not documents. But that is incorrect. While Brodeur did specifically deal
14

15   with untimely disclosed witnesses, it is interpreting Rule 37(c), and Rule 37(c) applies equally to

16   the failure to provide “information” or witnesses required by 26(a), and that information would
17   include identified documents. The same standard therefore applies to the witnesses and exhibits
18
     the United States disclosed through discovery and plans to use at trial, and the lack of harm from
19
     relying on any such exhibit or witness means the Court should grant the United States’ motion.
20
            Swenson’s other arguments fail. It is unclear, but it seems as if Swenson is arguing that
21

22   the United States did not disclose or identify documents in discovery and should therefore not be

23   able to rely on them. The United States is only going to rely on exhibits that are within the Bates

24

25   2
       In his declaration, Joe Izen claims he was not able to view the documents and the United States
26   failed to respond to his requests for assistance. The email that Mr. Izen attached as Exhibit 4 to
     his declaration shows that he emailed a nonresponsive email from the file-sharing service rather
27   than email U.S. counsel at their DOJ email addresses or call. The United States would have and
     can assist Mr. Izen if he actually contacts U.S. counsel and asks for assistance or to otherwise
28   confer about this matter. See Stevko Decl. ¶ 8.
                                                        9
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 1   range of previously disclosed documents, so this is not an issue. Swenson’s citation to In re
 2   Roman Cath. Archbishop of Portland in Oregon, 661 F.3d 417 (9th Cir. 2011) is irrelevant
 3
     because the United States is not relying on a protective order under Rule 26. The United States
 4
     disclosed the information required by Rule 26, just not in a formal “initial disclosure.” And
 5
     Swenson’s arguments about improper objections from the United States in its 2014 responses are
 6

 7   inappropriate at this time. If he wanted to litigate the merits of an objection, the time to do so was

 8   when written discovery was still open; Swenson never moved to compel different responses. And,

 9   in any event, the United States is not relying on any documents it may have withheld under a
10
     claimed objection, so this does not affect any of the documents or witnesses currently at issue.
11
            IV.     The defendants fail to show any harm from the lack of formal initial
12                  disclosures that would justify excluding all witnesses and evidence.

13          Ultimately, Mrs. Shearer and Swenson fail in identifying any actual harm. They instead
14   focus on procedural technicalities when the evidence shows that all the parties operated with
15
     some level of informality when discovery was open. The United States’ witnesses listed in the
16
     pretrial order include only the defendants themselves or witnesses who were already deposed.
17
     The defendants therefore cannot claim surprise about the identity of any witness, nor can they
18

19   claim to be surprised about potential future testimony. Similarly, the documents the United States

20   listed as exhibits range from tax records submitted by the defendants to financial and other

21   records of the trusts or defendants; these are all documents the defendants should have had some
22
     familiarity with. Most are documents the defendants themselves originally controlled or created.
23
     This means that the defendants cannot claim any harm. To show the type of harm that would
24
     justify exclusion under Rule 37, the defendants would have to show true surprise and that they
25
     would have done something differently during discovery they cannot do now, such as depose an
26
27   untimely disclosed witness. Defendants have not – and cannot – show any of this.

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                                                       10
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 1                                             CONCLUSION
 2          For the foregoing reasons, the Court should grant the United States’ motion and hold that
 3
     the United States may rely on the exhibits and witnesses identified in the pretrial order.
 4

 5   Date: April 2, 2024                           Respectfully submitted,
 6                                                 DAVID A. HUBBERT
 7                                                 Deputy Assistant Attorney General

 8                                                 /s/Alexander Stevko__________
                                                   ALEXANDER STEVKO
 9                                                 Trial Attorney, Tax Division
                                                   U.S. Department of Justice
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     Case 2:12-cv-02334-DJC-DB Document 167 Filed 04/02/24 Page 12 of 12


 1                                  CERTIFICATE OF SERVICE

 2         IT IS HEREBY CERTIFIED that on April 2, 2024, I caused a copy of the foregoing
     Motion, to be sent to the following by ECF notification:
 3

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15

16         I also certify that on the same day I served the following parties by mail and email:

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18         Mt. Shasta, CA 96067
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19         Pro se

20                                                       /s/ Alexander Stevko______
                                                         Alexander Stevko
21                                                       Trial Attorney, Tax Division
                                                         U.S. Department of Justice
22

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                                                    12
